              Case 1:15-cv-08253-RA Document 78 Filed 10/01/20 Page 1 of 1


                                                                USDC-SDNY
UNITED STATES DISTRICT COURT                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                   ELECTRONICALLY FILED
                                                                DOC#:
 VUGO INC.,                                                     DATE FILED: 10-1-20

                             Plaintiff,
                                                                  15-CV-8253 (RA)
                        v.
                                                                       ORDER
 CITY OF NEW YORK,

                             Defendant.



RONNIE ABRAMS, United States District Judge:

         On February 22, 2018, this Court granted summary judgment in this matter. Dkt. 63. On July

12, 2018, this Court approved a settlement concerning payment of Plaintiff’s attorneys’ fees. Dkt. 75.

The Court then maintained jurisdiction to enforce the terms of the agreement. On September 30, 2019,

the Court of Appeals for the Second Circuit reversed this Court’s decision. Dkt. 77. The parties are

hereby ordered to submit a joint letter no later than October 9, 2020 informing the Court whether this

case may be closed.

SO ORDERED.

Dated:     October 1, 2020
           New York, New York

                                                RONNIE ABRAMS
                                                United States District Judge
